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                                  Exhibit 1a
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12-11343-reg   Doc 658-1   Filed 09/21/12 Entered 09/21/12 17:38:13   Exhibit 1a
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Exhibit 1a                     Pinnacle Current Pilot Work Rules vs. DCI
                                                              through 9d Carriers
                                                                          Pg 4 of-64
                                                                                   More/Less Favorable Comparison

                        ExpressJet -                                                                                                          Pinnacle is Pinnacle is
                            CRJ                                                                                                                                         Pinnacle
 TOPIC                                         Comair             Compass                 GoJet            Republic        SkyWest               More        Less
                         (Formerly                                                                                                                                      is Comp
                                                                                                                                              Favorable Favorable
                           ASA)
 New Equipment
                         Pinnacle is         Pinnacle is       Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            4            2
                        Comparable          Comparable            Favorable           Favorable            Favorable
 Scheduling
 Committee –           Pinnacle is Less    Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            6            0
 Members and Pay          Favorable           Favorable           Favorable           Favorable            Favorable
 Short-term
 Training Required     Pinnacle is Less    Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            6            0
 on Day Off               Favorable           Favorable           Favorable           Favorable            Favorable
 Positive Space
 During Training       Pinnacle is Less    Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            6            0
                          Favorable           Favorable           Favorable           Favorable            Favorable
 Training
 Progression           Pinnacle is Less    Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            6            0
                          Favorable           Favorable           Favorable           Favorable            Favorable
 Training Freeze
                       Pinnacle is Less    Pinnacle is Less    Pinnacle is Less         Pinnacle is     Pinnacle is Less
                                                                                                                                                  1            4            1
                          Favorable           Favorable           Favorable            Comparable          Favorable
 Vacancy Training
 Restrictions                                                                                           Pinnacle is Less
 During Fenced
                       Not Applicable       Not Applicable      Not Applicable         Not Applicable                                             0            1            0
                                                                                                           Favorable
 Operations
 Voluntary Move
 Benefits              Pinnacle is Less    Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                                                                                                                                                  0            5            1
                          Favorable           Favorable           Favorable           Favorable            Favorable
 Instructors             Pinnacle is
                                           Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                            More                                                                                                                  1            5            0
                                              Favorable           Favorable           Favorable            Favorable
                         Favorable
 Post Line Award         Pinnacle is
 Open Time                                 Pinnacle is Less    Pinnacle is Less    Pinnacle is Less     Pinnacle is Less
                            More                                                                                                                  1            5            0
 Requirements                                 Favorable           Favorable           Favorable            Favorable
                         Favorable
 Open time posting
                         Pinnacle is         Pinnacle is       Pinnacle is Less         Pinnacle is       Pinnacle is
                                                                                                                                                  0            1            5
                        Comparable          Comparable            Favorable            Comparable        Comparable


   Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
   More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group ‐ September 2012
   Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 3
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Exhibit 1a                        Pinnacle Current Pilot Work Rules vs. DCI
                                                                 through 9d Carriers
                                                                             Pg 6 of-64
                                                                                      More/Less Favorable Comparison




                      ExpressJet ‐ CRJ
                                               Comair              Compass              GoJet   Republic    SkyWest
                      (Formerly ASA)
 Pinnacle is More
 Favorable                   11                   10                   3                 2         3

 Pinnacle is Less
 Favorable                   24                   23                  25                 32       29

 Pinnacle is
 Comparable                   8                   10                  15                 8        11




    Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                      Privileged and Confidential – Attorney Work Product
    More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                   F&H Solutions Group ‐ September 2012
    Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                        Page 5
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                                  Exhibit 1b
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Exhibit 1b                        Pinnacle Current Pilot Benefitsthrough
                                                                  vs. DCI9d
                                                                          Carriers - More/Less
                                                                             Pg 9 of  64       Favorable Comparison




                      ExpressJet ‐ CRJ
                                               Comair              Compass              GoJet   Republic    SkyWest
                      (Formerly ASA)
 Pinnacle is More
 Favorable                    1                   2                    0                 0         1

 Pinnacle is Less
 Favorable                    7                   7                    6                 7         9

 Pinnacle is
 Comparable                   2                   1                    4                 3         0




    Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                      Privileged and Confidential – Attorney Work Product
    More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                   F&H Solutions Group ‐ September 2012
    Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                        Page 2
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                                  Exhibit 2a
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Exhibit 2a                            Pinnacle Current Pilot Work Rules 9d
                                                                through vs. OALs
                                                                            Pg 11-of
                                                                                   More/Less
                                                                                     64      Favorable Comparison

                                                                       ExpressJet -                                                 Pinnacle is    Pinnacle is     Pinnacle is
                                                                           ERJ                                                         More           Less        Comparable
 TOPIC                   Air Wisconsin         American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                   Favorable      Favorable
                                                                       ExpressJet)
 Non-seniority list
 instructors            Pinnacle is More       Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                        3               2              0
 (limitations)             Favorable              Favorable             Favorable           Favorable          Favorable
 Home Study Pay
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Recurrent
 Training                   Pinnacle is           Pinnacle is            Pinnacle is       Pinnacle is         Pinnacle is
                                                                                                                                        0               0              5
 Pay/Credit                Comparable            Comparable             Comparable        Comparable          Comparable
 Junior
 Assignment              Pinnacle is Less      Pinnacle is Less       Pinnacle is Less     Pinnacle is      Pinnacle is Less
 Pay/Assignment
                                                                                                                                        0               4              1
                            Favorable             Favorable              Favorable        Comparable           Favorable
 on a Day Off
 Ability to Decline
 a Junior                Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
 Assignment                 Favorable             Favorable              Favorable          Favorable          Favorable
 Extensions –
 Ability to             Pinnacle is More       Pinnacle is More       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
 Decline/Premium                                                                                                                        2               3              0
 for Last Available        Favorable              Favorable              Favorable          Favorable          Favorable
 Pilot
 Medical
 Reimburse-ment         Pinnacle is More       Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        1               4              0
                           Favorable              Favorable              Favorable          Favorable          Favorable
 Flight Pay Loss
 Paid by Company         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Uniform
 Maintenance             Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is More
                                                                                                                                        1               4              0
 Allowance                  Favorable             Favorable              Favorable          Favorable          Favorable
 Customs Pay
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Per Diem
                         Pinnacle is Less      Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                        2               3              0
                            Favorable             Favorable             Favorable           Favorable          Favorable



Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 1
                                     12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 2a                            Pinnacle Current Pilot Work Rules 9d
                                                                through vs. OALs
                                                                            Pg 12-of
                                                                                   More/Less
                                                                                     64      Favorable Comparison

                                                                       ExpressJet -                                                    Pinnacle is    Pinnacle is     Pinnacle is
                                                                           ERJ                                                            More           Less        Comparable
 TOPIC                   Air Wisconsin         American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                      Favorable      Favorable
                                                                       ExpressJet)
 1 Day Trip Per
 Diem                       Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                           0               0              5
                           Comparable            Comparable             Comparable         Comparable         Comparable
 Hotel Buyout
                        Pinnacle is More       Pinnacle is More      Pinnacle is More    Pinnacle is More   Pinnacle is More
                                                                                                                                           5               0              0
                           Favorable              Favorable             Favorable           Favorable          Favorable
 Line Award - Line
 Value Range             Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                           0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Min Day Off               Lineholders            Lineholders           Lineholders        Lineholders        Lineholders             Lineholders    Lineholders     Lineholders
                        Pinnacle is More          Pinnacle is        Pinnacle is More       Pinnacle is     Pinnacle is More               3               0              2
                           Favorable             Comparable             Favorable          Comparable          Favorable               Reserves        Reserves       Reserves
                            Reserves               Reserves               Reserves          Reserves           Reserves                    2               0              3
                        Pinnacle is More          Pinnacle is        Pinnacle is More       Pinnacle is        Pinnacle is
                           Favorable             Comparable             Favorable          Comparable         Comparable
 Minimum Credits          Minimum Day            Minimum Day           Minimum Day        Minimum Day        Minimum Day               Minimum         Minimum        Minimum
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less             Day             Day            Day
                            Favorable             Favorable              Favorable          Favorable          Favorable                   0               5              0
                             Duty Rig              Duty Rig               Duty Rig           Duty Rig           Duty Rig               Duty Rig        Duty Rig        Duty Rig
                        Pinnacle is More          Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is                 1               0              4
                                                                                                                                        Trip Rig       Trip Rig        Trip Rig
                           Favorable             Comparable             Comparable         Comparable         Comparable
                             Trip Rig               Trip Rig              Trip Rig           Trip Rig           Trip Rig                   1               0              4
                        Pinnacle is More          Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                           Favorable             Comparable             Comparable         Comparable         Comparable
 Single Duty Day
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                           0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Long Call
 Available              Pinnacle is More       Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                           1               4              0
                           Favorable              Favorable              Favorable          Favorable          Favorable
 Co-Domiciles
                            Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                           0               0              5
                           Comparable            Comparable             Comparable         Comparable         Comparable
 Long Call Reserve
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                           0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable


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Exhibit 2a                            Pinnacle Current Pilot Work Rules 9d
                                                                through vs. OALs
                                                                            Pg 13-of
                                                                                   More/Less
                                                                                     64      Favorable Comparison

                                                                       ExpressJet -                                                 Pinnacle is    Pinnacle is     Pinnacle is
                                                                           ERJ                                                         More           Less        Comparable
 TOPIC                   Air Wisconsin         American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                   Favorable      Favorable
                                                                       ExpressJet)
 New Equipment
                         Pinnacle is Less         Pinnacle is         Pinnacle is Less   Pinnacle is Less   Pinnacle is More
                                                                                                                                        1               3              1
                            Favorable            Comparable              Favorable          Favorable          Favorable
 Scheduling
 Committee –             Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
 Members and Pay            Favorable             Favorable              Favorable          Favorable          Favorable
 Short-term
 Training Required       Pinnacle is Less      Pinnacle is Less      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                        1               4              0
 on Day Off                 Favorable             Favorable             Favorable           Favorable          Favorable
 Positive Space
 During Training         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Training
 Progression             Pinnacle is Less      Pinnacle is Less          Pinnacle is     Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               4              1
                            Favorable             Favorable             Comparable          Favorable          Favorable
 Training Freeze
                         Pinnacle is Less      Pinnacle is Less      Pinnacle is More    Pinnacle is Less      Pinnacle is
                                                                                                                                        1               3              1
                            Favorable             Favorable             Favorable           Favorable         Comparable
 Vacancy Training
 Restrictions              Pinnacle is            Pinnacle is            Pinnacle is       Pinnacle is      Pinnacle is Less
 During Fenced
                                                                                                                                        0               1              4
                          Comparable             Comparable             Comparable        Comparable           Favorable
 Operations
 Voluntary Move
 Benefits                Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Instructors
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Post Line Award
 Open Time              Pinnacle is More       Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                        3               2              0
 Requirements              Favorable              Favorable             Favorable           Favorable          Favorable
 Open time posting
                            Pinnacle is        Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               4              1
                           Comparable             Favorable              Favorable          Favorable          Favorable
 Open Time Pay
                            Pinnacle is        Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               4              1
                           Comparable             Favorable              Favorable          Favorable          Favorable

Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 3
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Exhibit 2a                             Pinnacle Current Pilot Work Rules 9d
                                                                 through vs. OALs
                                                                             Pg 14-of
                                                                                    More/Less
                                                                                      64      Favorable Comparison

                                                                       ExpressJet -                                                   Pinnacle is    Pinnacle is     Pinnacle is
                                                                           ERJ                                                           More           Less        Comparable
 TOPIC                   Air Wisconsin         American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                     Favorable      Favorable
                                                                       ExpressJet)
 Trip Disruption /
 Reassignment               Pinnacle is        Pinnacle is Less          Pinnacle is                           Pinnacle is
                                                                                         Not Applicable                                   0               1              3
 Pay                       Comparable             Favorable             Comparable                            Comparable
 Deadhead Pay                   Air                   Air                    Air               Air                Air                    Air             Air             Air
                        Pinnacle is More          Pinnacle is        Pinnacle is More    Pinnacle is Less      Pinnacle is                2               1              2
                           Favorable             Comparable             Favorable           Favorable         Comparable               Ground          Ground         Ground
                             Ground                 Ground                 Ground            Ground             Ground                    2               2              1
                        Pinnacle is More          Pinnacle is        Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                           Favorable             Comparable             Favorable           Favorable          Favorable
 Deadhead Credit                Air                   Air                    Air               Air                Air                    Air             Air             Air
                        Pinnacle is More          Pinnacle is        Pinnacle is More    Pinnacle is Less      Pinnacle is                2               1              2
                           Favorable             Comparable             Favorable           Favorable         Comparable               Ground          Ground         Ground
                             Ground                 Ground                 Ground            Ground             Ground                    1               3              1
                         Pinnacle is Less         Pinnacle is        Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                            Favorable            Comparable             Favorable           Favorable          Favorable
 Vacation                    Accrual                Accrual                Accrual           Accrual            Accrual                Accrual        Accrual         Accrual
                        Pinnacle is More       Pinnacle is More      Pinnacle is More    Pinnacle is Less      Pinnacle is                3               1              1
                           Favorable              Favorable             Favorable           Favorable         Comparable                 Pay             Pay            Pay
                               Pay                    Pay                    Pay               Pay                Pay                     2               0              3
                            Pinnacle is           Pinnacle is        Pinnacle is More      Pinnacle is      Pinnacle is More
                           Comparable            Comparable             Favorable         Comparable           Favorable
 Virtual Vacation
 Credit                  Pinnacle is Less      Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          2               3              0
                            Favorable             Favorable             Favorable           Favorable          Favorable
 FMLA
                         Pinnacle is Less         Pinnacle is         Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0               4              1
                            Favorable            Comparable              Favorable          Favorable          Favorable
                                                                                                                TOTAL                     42            125              52




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                         Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                      F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                           Page 4
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Exhibit 2a                            Pinnacle Current Pilot Work Rules 9d
                                                                through vs. OALs
                                                                            Pg 15-of
                                                                                   More/Less
                                                                                     64      Favorable Comparison

                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin        American Eagle            (Formerly       Mesa   Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                      14                      7                     15           1          5

 Pinnacle is Less
 Favorable                      22                     22                     21           32        28

 Pinnacle is
 Comparable                      8                     15                      8           10        11




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                         Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                      F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                           Page 5
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                                  Exhibit 2b
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Exhibit 2b                            Pinnacle Current Pilot Benefits vs.9d
                                                                through   OALs
                                                                             Pg- 17
                                                                                 More/Less
                                                                                    of 64  Favorable Comparison


                                                                       ExpressJet -                                                 Pinnacle is    Pinnacle is     Pinnacle is
                                                                           ERJ                                                         More           Less        Comparable
 TOPIC                   Air Wisconsin         American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                   Favorable      Favorable
                                                                       ExpressJet)
 Sick Leave /               Sick Leave            Sick Leave             Sick Leave        Sick Leave         Sick Leave           Sick Leave      Sick Leave     Sick Leave
 Extended Sick           Pinnacle is Less      Pinnacle is Less      Pinnacle is More      Pinnacle is      Pinnacle is Less            1               3              1
 Leave (ESL)                                                                                                                        Extended        Extended       Extended
                            Favorable             Favorable             Favorable         Comparable           Favorable
                          Extended Sick         Extended Sick          Extended Sick     Extended Sick      Extended Sick          Sick Leave      Sick Leave     Sick Leave
                              Leave                 Leave                  Leave             Leave              Leave                   0               5              0
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Short Term
 Disability              Pinnacle is Less      Pinnacle is Less          Pinnacle is     Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               4              1
                            Favorable             Favorable             Comparable          Favorable          Favorable
 Loss of License
                         Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
                            Favorable             Favorable              Favorable          Favorable          Favorable
 Long Term
 Disability              Pinnacle is Less      Pinnacle is Less       Pinnacle is Less     Pinnacle is        Pinnacle is
                                                                                                                                        0               3              2
                            Favorable             Favorable              Favorable        Comparable         Comparable
 Medical- Premium
 Payment                Pinnacle is More       Pinnacle is Less          Pinnacle is     Pinnacle is Less   Pinnacle is Less
                                                                                                                                        1               3              1
 Provisions                Favorable              Favorable             Comparable          Favorable          Favorable
 Ability to Change
 Health Care Plan        Pinnacle is Less      Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               5              0
 Design                     Favorable             Favorable              Favorable          Favorable          Favorable
 Retiree Medical
                        Pinnacle is More       Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        1               4              0
                           Favorable              Favorable              Favorable          Favorable          Favorable
 Retirement
                            Pinnacle is        Pinnacle is Less       Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                        0               4              1
                           Comparable             Favorable              Favorable          Favorable          Favorable
 Profit Sharing             Pinnacle is           Pinnacle is        Pinnacle is More      Pinnacle is        Pinnacle is
                                                                                                                                        1               0              4
                           Comparable            Comparable             Favorable         Comparable         Comparable
                                                                                                                TOTAL                   4              38              10




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 1
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Exhibit 2b                            Pinnacle Current Pilot Benefits vs.9d
                                                                through   OALs
                                                                             Pg- 18
                                                                                 More/Less
                                                                                    of 64  Favorable Comparison


                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin        American Eagle            (Formerly       Mesa   Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                       2                      0                      2           0          0

 Pinnacle is Less
 Favorable                       6                      9                      6           7          8

 Pinnacle is
 Comparable                      2                      1                      2           3          2




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                         Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                      F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                           Page 2
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                                  Exhibit 3a
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Exhibit 3a                     Pinnacle Proposed Pilot Work Rules vs. 9d
                                                             through  DCI Carriers
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                                                                                     More/Less Favorable Comparison

                    ExpressJet -                                                                                                                Pinnacleis   Pinnacleis   Pinnacleis
                        CRJ                                                                                                                        More          Less      Comp
 TOPIC                                      Comair             Compass                  GoJet              Republic       SkyWest
                     (Formerly                                                                                                                  Favorable      Favorable
                       ASA)
 Non-seniority        Pinnacleis                             Pinnacleis           Pinnacleis        Pinnacleis                     
 list                                  PinnacleisLess
 instructors
                         More                                    More                  More               More                                 5             1             0
                                          Favorable
 (limitations)        Favorable                                Favorable              Favorable           Favorable
 Home Study                               Pinnacleis                                                                                      
 Pay               PinnacleisLess                           Pinnacleis     PinnacleisLess   Pinnacleis                    
                                             More                                                                                                  1             3             2
                      Favorable                               Comparable           Favorable      LessFavorable
                                          Favorable
 Recurrent            Pinnacleis        Pinnacleis         Pinnacleis           Pinnacleis        Pinnacleis                     
 Training
 Pay/Credit
                         More               More                More                  More               More                                 6             0             0
                      Favorable          Favorable           Favorable             Favorable          Favorable                
 Junior                                                                                                                                     
 Assignment                                                    Pinnacleis
                      Pinnacleis        Pinnacleis                             Pinnacleis            Pinnacleis             
 Pay/Assignm                                                      More                                                                             1             1             4
 ent on a Day        Comparable          Comparable                               Comparable             LessFavorable
                                                               Favorable
 Off
 Ability to                                                                                                                                 
 Decline a            Pinnacleis        Pinnacleis         Pinnacleis        Pinnacleis            Pinnacleis             
 Junior
                                                                                                                                                    0             0             6
                     Comparable         Comparable          Comparable         Comparable             Comparable                   
 Assignment
 Extensions –                                                                                                                               
 Ability to           Pinnacleis                             Pinnacleis                               Pinnacleis
 Decline/Premi                            Pinnacleis                             Pinnacleis                                     
 um for Last
                         More                                    More                                      More                                  3             0             3
                                         Comparable                               Comparable
 Available            Favorable                                Favorable                                  Favorable
 Pilot
 Medical                                                                                                                                    
 Reimburse-           Pinnacleis        Pinnacleis         Pinnacleis        Pinnacleis            Pinnacleis             
                                                                                                                                                    0             0             6
 ment                Comparable          Comparable           Comparable          Comparable              Comparable
 Flight Pay           Pinnacleis                             Pinnacleis                                                                 
 Loss Paid by                             Pinnacleis                             Pinnacleis            Pinnacleis
                         More                                    More                                                                             2             0             3
 Company                                 Comparable                               Comparable              Comparable
                      Favorable                                Favorable
 Uniform              Pinnacleis                             Pinnacleis           Pinnacleis        Pinnacleis                     
 Maintenance                              Pinnacleis
                         More                                    More                  More               More                                 5             0             1
 Allowance                               Comparable
                      Favorable                                Favorable              Favorable           Favorable
 Customs Pay                                                   Pinnacleis                               Pinnacleis                      
                      Pinnacleis        Pinnacleis                             Pinnacleis                                     
                                                                  More                                      More                                  2             0             4
                     Comparable          Comparable                               Comparable
                                                               Favorable                                  Favorable


LessFavorable=Pinnacleprovisionismorecostly/restrictivethanOALprovision                                            PrivilegedandConfidential–AttorneyWorkProduct
MoreFavorable=Pinnacleprovisionislesscostly/restrictivethanOALprovision                                                        F&HSolutionsGroup–September2012
Comparable=PinnacleprovisionisapproximatelycomparabletoOALprovision                                                                                             Page1
                                   12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 3a                     Pinnacle Proposed Pilot Work Rules vs. 9d
                                                             through  DCI Carriers
                                                                          Pg 21 of -64
                                                                                     More/Less Favorable Comparison

                    ExpressJet -                                                                                                                           Pinnacleis   Pinnacleis   Pinnacleis
                        CRJ                                                                                                                                   More          Less      Comp
 TOPIC                                      Comair             Compass                  GoJet               Republic          SkyWest
                     (Formerly                                                                                                                             Favorable      Favorable
                       ASA)
 Per Diem             Pinnacleis        Pinnacleis                                                     Pinnacleis                               
                                                            PinnacleisLess PinnacleisLess
                         More               More                                                            More                                           4             2             0
                                                               Favorable         Favorable
                      Favorable           Favorable                                                        Favorable
 1 Day Trip Per       Pinnacleis        Pinnacleis         Pinnacleis           Pinnacleis         Pinnacleis                               
 Diem
                         More               More                More                  More                More                                           6             0             0
                      Favorable           Favorable            Favorable              Favorable            Favorable
 Hotel Buyout                                                                                                                                          
                   PinnacleisMore PinnacleisMore      PinnacleisMore PinnacleisMore  Pinnacleis                                      
                                                                                                                                                               6              0             0
                      Favorable        Favorable             Favorable        Favorable     MoreFavorable                        
 Line Award -                                                                                                                                          
 Line Value        PinnacleisMore PinnacleisMore      PinnacleisMore PinnacleisMore  Pinnacleis                                      
                                                                                                                                                               6              0             0
 Range                Favorable         Favorable              Favorable         Favorable      MoreFavorable
 Min Day Off          Lineholder          Lineholder           Lineholder             Lineholder            Lineholder                                     Lineholder     Lineholder     Lineholder
                   PinnacleisMore PinnacleisMore         Pinnacleis            Pinnacleis        Pinnacleis                                       3              1            2
                      Favorable         Favorable             Comparable              Comparable          MoreFavorable                                    Reserve        Reserve        Reserve
                       Reserve              Reserve             Reserve                 Reserve              Reserve                                           5               0             1
                   PinnacleisMore PinnacleisMore PinnacleisMore               Pinnacleis        Pinnacleis                            
                      Favorable         Favorable         Favorable                   Comparable          MoreFavorable
 Minimum            Minimum Day          Minimum Day         Minimum Day          Minimum Day             Minimum Day                                      Minimum        Minimum        Minimum
 Credits           PinnacleisMore PinnacleisMore PinnacleisMore PinnacleisMore                  Pinnacleis                                    Day            Day            Day
                      Favorable         Favorable         Favorable         Favorable                      Comparable                                          5              0             1
                       Duty Rig             Duty Rig            Duty Rig               Duty Rig              Duty Rig                                      Duty Rig       Duty Rig       Duty Rig
                   PinnacleisMore PinnacleisMore         Pinnacleis            Pinnacleis         Pinnacleis                                      3              0             3
                      Favorable         Favorable             Comparable              Comparable           Comparable                                       Trip Rig       Trip Rig       Trip Rig
                        Trip Rig            Trip Rig            Trip Rig                Trip Rig             Trip Rig                                          1              0             5
                      Pinnacleis      PinnacleisMore      Pinnacleis            Pinnacleis         Pinnacleis                
                     Comparable            Favorable          Comparable              Comparable           Comparable
 Single Duty                                                                                                                                           
 Day                  Pinnacleis         Pinnacleis        Pinnacleis            Pinnacleis         Pinnacleis                
                                                                                                                                                               0              0             6
                     Comparable           Comparable          Comparable              Comparable           Comparable
 Long Call                                                                                                                                             
 Available          PinnacleisLess   PinnacleisMore    PinnacleisLess   PinnacleisLess        PinnacleisLess                    
                                                                                                                                                               1              5             0
                       Favorable           Favorable            Favorable           Favorable                Favorable
 Co-Domiciles                                                                                                                                          
                   PinnacleisMore PinnacleisMore      PinnacleisMore PinnacleisMore  Pinnacleis                           
                                                                                                                                                               5              0             1
                      Favorable         Favorable              Favorable         Favorable      MoreFavorable


LessFavorable=Pinnacleprovisionismorecostly/restrictivethanOALprovision                                                PrivilegedandConfidential–AttorneyWorkProduct
MoreFavorable=Pinnacleprovisionislesscostly/restrictivethanOALprovision                                                            F&HSolutionsGroup–September2012
Comparable=PinnacleprovisionisapproximatelycomparabletoOALprovision                                                                                                 Page2
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12-11343-reg   Doc 658-1   Filed 09/21/12 Entered 09/21/12 17:38:13   Exhibit 1a
                            through 9d Pg 23 of 64
                                     12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 3a                       Pinnacle Proposed Pilot Work Rules vs. 9d
                                                               through  DCI Carriers
                                                                            Pg 24 of -64
                                                                                       More/Less Favorable Comparison

                     ExpressJet -                                                                                                                       Pinnacleis   Pinnacleis   Pinnacleis
                         CRJ                                                                                                                               More          Less      Comp
 TOPIC                                        Comair           Compass                  GoJet               Republic          SkyWest
                      (Formerly                                                                                                                         Favorable      Favorable
                        ASA)
 Vacation               Accrual                                                        Accrual                                                           Accrual        Accrual        Accrual
                                              Accrual            Accrual                                     Accrual
                      Pinnacleis                                                    Pinnacleis                                                          6             0             0
                                            Pinnacleis       Pinnacleis                                Pinnacleis                                   Pay            Pay            Pay
                         More                                                           More
                                               More              More                                       More                                        2              3              1
                      Favorable                                                       Favorable
                          Pay
                                            Favorable          Favorable                 Pay
                                                                                                           Favorable
                                                Pay                Pay                                         Pay
                      Pinnacleis                                                    Pinnacleis
                                       PinnacleisLess       Pinnacleis                                 Pinnacleis                        
                         More                                                           More
                                          Favorable           Comparable                                  LessFavorable
                      Favorable                                                       Favorable
 Virtual              Pinnacleis                                                    Pinnacleis                                                 
 Vacation                                    Pinnacleis      Pinnacleis                                 Pinnacleis
                         More                                                           More                                                             3             1             2
 Credit                                     Comparable        Comparable                                  LessFavorable
                      Favorable                                                       Favorable
 FMLA                                                          Pinnacleis                                Pinnacleis
                      Pinnacleis           Pinnacleis                          Pinnacleis
                                                                  More                                       More                                         2             0             3
                     Comparable             Comparable                            Comparable
                                                               Favorable                                   Favorable
                                                                                                                          TOTAL                     127            41            91


                       ExpressJetͲCRJ
                                                 Comair            Compass                  GoJet             Republic         SkyWest
                       (FormerlyASA)
 PinnacleisMore
 Favorable                     27                    24                 23                     15                     19                       

 PinnacleisLess
 Favorable                     4                    6                 6                      8                    11                  

 Pinnacleis
 Comparable                    13                   14                15                    21                    14                      




LessFavorable=Pinnacleprovisionismorecostly/restrictivethanOALprovision                                                PrivilegedandConfidential–AttorneyWorkProduct
MoreFavorable=Pinnacleprovisionislesscostly/restrictivethanOALprovision                                                            F&HSolutionsGroup–September2012
Comparable=PinnacleprovisionisapproximatelycomparabletoOALprovision                                                                                                 Page5
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                                  Exhibit 3b
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Exhibit 3b                         Pinnacle Proposed Pilot Benefits vs. DCI
                                                                 through 9d Carriers
                                                                             Pg 27 of- More/Less
                                                                                       64        Favorable Comparison


                       ExpressJetͲCRJ
                                                Comair             Compass         GoJet     Republic    SkyWest
                       (FormerlyASA)
 PinnacleisMore
 Favorable                   5                     8                    5              2           3              

 PinnacleisLess
 Favorable                   3                    0                   1             4          3             

 Pinnacleis
 Comparable                  2                    2                   2             1          2             




LessFavorable=Pinnacleprovisionismorecostly/restrictivethanOALprovision                           PrivilegedandConfidential–AttorneyWorkProduct
MoreFavorable=Pinnacleprovisionislesscostly/restrictivethanOALprovision                                       F&HSolutionsGroup–September2012
Comparable=PinnacleprovisionisapproximatelycomparabletoOALprovision                                                                            Page2
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                                  Exhibit 4a
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Exhibit 4a                          Pinnacle Proposed Pilot Workthrough
                                                                  Rules vs.
                                                                        9d OALs
                                                                            Pg 29- of
                                                                                   More/Less
                                                                                      64     Favorable Comparison

                                                                       ExpressJet -                                               Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                       More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                 Favorable       Favorable
                                                                       ExpressJet)
 Non-seniority list
 instructors            Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is Less   Pinnacle is Less
                                                                                                                                       3              2               0
 (limitations)             Favorable             Favorable              Favorable          Favorable          Favorable
 Home Study Pay
                           Pinnacle is            Pinnacle is           Pinnacle is                           Pinnacle is
                                                                                         Not Applicable                                0              0               4
                          Comparable             Comparable            Comparable                            Comparable
 Recurrent
 Training               Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                       5              0               0
 Pay/Credit                Favorable             Favorable              Favorable          Favorable          Favorable
 Junior
 Assignment                Pinnacle is            Pinnacle is        Pinnacle is More   Pinnacle is More   Pinnacle is Less
 Pay/Assignment
                                                                                                                                       2              1               2
                          Comparable             Comparable             Favorable          Favorable          Favorable
 on a Day Off
 Ability to Decline
 a Junior                  Pinnacle is            Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                       0              0               5
 Assignment               Comparable             Comparable            Comparable         Comparable         Comparable
 Extensions –
 Ability to             Pinnacle is More      Pinnacle is More          Pinnacle is        Pinnacle is        Pinnacle is
 Decline/Premium                                                                                                                       2              0               3
 for Last Available        Favorable             Favorable             Comparable         Comparable         Comparable
 Pilot
 Medical
 Reimbursement          Pinnacle is More          Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                       1              0               4
                           Favorable             Comparable            Comparable         Comparable         Comparable
 Flight Pay Loss
 Paid by Company           Pinnacle is        Pinnacle is More          Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                       1              0               4
                          Comparable             Favorable             Comparable         Comparable         Comparable
 Uniform
 Maintenance            Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                       5              0               0
 Allowance                 Favorable             Favorable              Favorable          Favorable          Favorable
 Customs Pay
                        Pinnacle is More          Pinnacle is        Pinnacle is More      Pinnacle is        Pinnacle is
                                                                                                                                       2              0               3
                           Favorable             Comparable             Favorable         Comparable         Comparable
 Per Diem
                        Pinnacle is Less      Pinnacle is More       Pinnacle is More   Pinnacle is Less   Pinnacle is More
                                                                                                                                       3              2               0
                           Favorable             Favorable              Favorable          Favorable          Favorable



Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 1
                                     12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4a                          Pinnacle Proposed Pilot Workthrough
                                                                  Rules vs.
                                                                        9d OALs
                                                                            Pg 30- of
                                                                                   More/Less
                                                                                      64     Favorable Comparison

                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 1 Day Trip Per
 Diem                   Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Hotel Buyout
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Line Award - Line
 Value Range            Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is Less   Pinnacle is More
                                                                                                                                          4              1               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Min Day Off               Lineholder             Lineholder            Lineholder         Lineholder         Lineholder             Lineholder     Lineholder      Lineholder
                        Pinnacle is More          Pinnacle is        Pinnacle is More      Pinnacle is     Pinnacle is More               3              0               2
                           Favorable             Comparable             Favorable         Comparable          Favorable               Reserve         Reserve        Reserve
                             Reserve               Reserve                Reserve           Reserve            Reserve                    5              0               0
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Minimum Credits          Minimum Day           Minimum Day            Minimum Day       Minimum Day        Minimum Day               Minimum        Minimum         Minimum
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More             Day            Day             Day
                           Favorable             Favorable              Favorable          Favorable          Favorable                   5              0               0
                             Duty Rig              Duty Rig              Duty Rig           Duty Rig           Duty Rig               Duty Rig        Duty Rig       Duty Rig
                        Pinnacle is More          Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is                 1              0               4
                                                                                                                                      Trip Rig        Trip Rig       Trip Rig
                           Favorable             Comparable            Comparable         Comparable         Comparable
                             Trip Rig              Trip Rig               Trip Rig          Trip Rig           Trip Rig                   1              0               4
                        Pinnacle is More          Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                           Favorable             Comparable            Comparable         Comparable         Comparable
 Single Duty Day
                           Pinnacle is            Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                          0              0               5
                          Comparable             Comparable            Comparable         Comparable         Comparable
 Long Call
 Available              Pinnacle is More       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          1              4               0
                           Favorable              Favorable             Favorable          Favorable          Favorable
 Co-Domiciles
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Long Call Reserve
                        Pinnacle is More          Pinnacle is        Pinnacle is More      Pinnacle is        Pinnacle is
                                                                                                                                          2              0               3
                           Favorable             Comparable             Favorable         Comparable         Comparable


Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 2
                                     12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4a                          Pinnacle Proposed Pilot Workthrough
                                                                  Rules vs.
                                                                        9d OALs
                                                                            Pg 31- of
                                                                                   More/Less
                                                                                      64     Favorable Comparison

                                                                       ExpressJet -                                               Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                       More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                 Favorable       Favorable
                                                                       ExpressJet)
 New Equipment
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                       5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Scheduling
 Committee –               Pinnacle is            Pinnacle is        Pinnacle is More      Pinnacle is        Pinnacle is
                                                                                                                                       1              0               4
 Members and Pay          Comparable             Comparable             Favorable         Comparable         Comparable
 Short-term
 Training Required      Pinnacle is Less       Pinnacle is Less      Pinnacle is More
                                                                                         Not Applicable     Not Applicable             1              2               0
 on Day Off                Favorable              Favorable             Favorable
 Positive Space
 During Training                              Pinnacle is More       Pinnacle is More      Pinnacle is        Pinnacle is
                         Not Applicable                                                                                                2              0               2
                                                 Favorable              Favorable         Comparable         Comparable
 Training
 Progression            Pinnacle is Less       Pinnacle is Less      Pinnacle is More   Pinnacle is Less   Pinnacle is Less
                                                                                                                                       1              4               0
                           Favorable              Favorable             Favorable          Favorable          Favorable
 Training Freeze
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is Less
                                                                                                                                       4              1               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Vacancy Training
 Restrictions              Pinnacle is            Pinnacle is           Pinnacle is        Pinnacle is     Pinnacle is More
 During Fenced
                                                                                                                                       1              0               4
                          Comparable             Comparable            Comparable         Comparable          Favorable
 Operations
 Voluntary Move
 Benefits                  Pinnacle is            Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                       0              0               5
                          Comparable             Comparable            Comparable         Comparable         Comparable
 Instructors
                        Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                       0              5               0
                           Favorable              Favorable             Favorable          Favorable          Favorable
 Post Line Award
 Open Time              Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                       5              0               0
 Requirements              Favorable             Favorable              Favorable          Favorable          Favorable
 Open time posting
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More
                                                                                                                                       5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Open Time Pay
                        Pinnacle is More          Pinnacle is           Pinnacle is        Pinnacle is     Pinnacle is More
                                                                                                                                       2              0               3
                           Favorable             Comparable            Comparable         Comparable          Favorable

Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                       Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                    F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                         Page 3
                                       12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4a                            Pinnacle Proposed Pilot Workthrough
                                                                    Rules vs.
                                                                          9d OALs
                                                                              Pg 32- of
                                                                                     More/Less
                                                                                        64     Favorable Comparison

                                                                       ExpressJet -                                                Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                        More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                  Favorable       Favorable
                                                                       ExpressJet)
 Trip Disruption /
 Reassign-ment          Pinnacle is More          Pinnacle is        Pinnacle is More                      Pinnacle is More
                                                                                         Not Applicable                                 3              0               1
 Pay                       Favorable             Comparable             Favorable                             Favorable
 Deadhead Pay                   Air                   Air                   Air               Air                Air                   Air            Air             Air
                        Pinnacle is More      Pinnacle is More       Pinnacle is More      Pinnacle is     Pinnacle is More             4              0               1
                           Favorable             Favorable              Favorable         Comparable          Favorable              Ground         Ground          Ground
                             Ground                Ground                 Ground            Ground             Ground                   3              0               2
                        Pinnacle is More      Pinnacle is More       Pinnacle is More      Pinnacle is        Pinnacle is
                           Favorable             Favorable              Favorable         Comparable         Comparable
 Deadhead Credit                Air                   Air                   Air               Air                Air                   Air            Air             Air
                        Pinnacle is More      Pinnacle is More       Pinnacle is More      Pinnacle is     Pinnacle is More             4              0               1
                           Favorable             Favorable              Favorable         Comparable          Favorable              Ground         Ground          Ground
                             Ground                Ground                 Ground            Ground             Ground                   3              0               2
                        Pinnacle is More      Pinnacle is More       Pinnacle is More      Pinnacle is        Pinnacle is
                           Favorable             Favorable              Favorable         Comparable         Comparable
 Vacation                    Accrual               Accrual                Accrual           Accrual            Accrual               Accrual        Accrual        Accrual
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More   Pinnacle is More             5              0               0
                           Favorable             Favorable              Favorable          Favorable          Favorable                Pay            Pay             Pay
                               Pay                    Pay                   Pay               Pay                Pay                    2              0               3
                           Pinnacle is            Pinnacle is        Pinnacle is More      Pinnacle is     Pinnacle is More
                          Comparable             Comparable             Favorable         Comparable          Favorable
 Virtual Vacation
 Credit                    Pinnacle is        Pinnacle is More       Pinnacle is More      Pinnacle is     Pinnacle is More
                                                                                                                                        3              0               2
                          Comparable             Favorable              Favorable         Comparable          Favorable
 FMLA
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is More      Pinnacle is
                                                                                                                                        4              0               1
                           Favorable             Favorable              Favorable          Favorable         Comparable
                                                                                                               TOTAL                  119              22             74




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                        Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                     F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                          Page 4
                                       12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4a                            Pinnacle Proposed Pilot Workthrough
                                                                    Rules vs.
                                                                          9d OALs
                                                                              Pg 33- of
                                                                                     More/Less
                                                                                        64     Favorable Comparison

                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly       Mesa   Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                       29                    24                    31            14        21

 Pinnacle is Less
 Favorable                        4                     4                     2            6          6

 Pinnacle is
 Comparable                      10                    16                    11            21        16




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                           Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                        F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                             Page 5
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                                  Exhibit 4b
                                     12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4b                           Pinnacle Proposed Pilot Benefits
                                                               throughvs.
                                                                       9dOALs - More/Less
                                                                           Pg 35 of 64    Favorable Comparison

                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                 Mesa           Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 Sick Leave /              Sick Leave             Sick Leave            Sick Leave         Sick Leave         Sick Leave             Sick Leave     Sick Leave      Sick Leave
 Extended Sick          Pinnacle is Less       Pinnacle is Less      Pinnacle is More      Pinnacle is     Pinnacle is Less               1              3               1
 Leave (ESL)                                                                                                                          Extended       Extended        Extended
                           Favorable              Favorable             Favorable         Comparable          Favorable
                         Extended Sick          Extended Sick         Extended Sick      Extended Sick      Extended Sick            Sick Leave     Sick Leave      Sick Leave
                             Leave                  Leave                 Leave              Leave              Leave                     2              0               3
                           Pinnacle is        Pinnacle is More       Pinnacle is More      Pinnacle is        Pinnacle is
                          Comparable             Favorable              Favorable         Comparable         Comparable
 Short Term
 Disability             Pinnacle is More          Pinnacle is        Pinnacle is Less      Pinnacle is     Pinnacle is Less
                                                                                                                                          1              2               2
                           Favorable             Comparable             Favorable         Comparable          Favorable
 Loss of License
                        Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
                           Favorable              Favorable             Favorable          Favorable          Favorable
 Long Term
 Disability             Pinnacle is Less      Pinnacle is More       Pinnacle is Less   Pinnacle is More   Pinnacle is More
                                                                                                                                          3              2               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Medical- Premium
 Payment                Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          3              2               0
 Provisions                Favorable             Favorable              Favorable          Favorable          Favorable
 Ability to Change
 Health Care Plan       Pinnacle is More      Pinnacle is More          Pinnacle is        Pinnacle is     Pinnacle is More
                                                                                                                                          3              0               2
 Design                    Favorable             Favorable             Comparable         Comparable          Favorable
 Retiree Medical
                        Pinnacle is More          Pinnacle is           Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                          1              0               4
                           Favorable             Comparable            Comparable         Comparable         Comparable
 Retirement
                        Pinnacle is More      Pinnacle is More       Pinnacle is More   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          3              2               0
                           Favorable             Favorable              Favorable          Favorable          Favorable
 Profit Sharing         Pinnacle is Less       Pinnacle is Less      Pinnacle is More   Pinnacle is Less   Pinnacle is Less
                                                                                                                                          1              4               0
                           Favorable              Favorable             Favorable          Favorable          Favorable
                                                                                                               TOTAL                     18              20             12




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 1
                                      12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 4b                            Pinnacle Proposed Pilot Benefits
                                                                throughvs.
                                                                        9dOALs - More/Less
                                                                            Pg 36 of 64    Favorable Comparison

                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly       Mesa   Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                        5                     5                     5            1          2

 Pinnacle is Less
 Favorable                        4                     3                     3            4          6

 Pinnacle is
 Comparable                       1                     2                     2            5          2




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                           Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                        F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                             Page 2
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                            through 9d Pg 37 of 64




                                  Exhibit 5a
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12-11343-reg   Doc 658-1   Filed 09/21/12 Entered 09/21/12 17:38:13   Exhibit 1a
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                                  Exhibit 5b
                                  12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 5b                 Pinnacle Current Flight Attendant Benefits
                                                              through vs.
                                                                      9d DCI
                                                                          Pg Carriers
                                                                             41 of 64 - More/Less Favorable Comparison
                       ExpressJet -                                                                                                                              Pinnacleis   Pinnacleis
                           CRJ                                                                                                                                      More          Less   Pinnacleis
 TOPIC                                          Comair            Compass                   GoJet                    Republic          SkyWest
                        (Formerly                                                                                                                                Favorable      Favorable    Comparable
                          ASA)
 Sick Leave /
 Extended Sick         PinnacleisLess    PinnacleisLess                                                    PinnacleisLess                 
                                                                                                                                                                    0             6             0
 Leave                    Favorable            Favorable                                                              Favorable
 Short-Term
 Disability Plan       PinnacleisLess    PinnacleisMore                                                    PinnacleisLess                 
                                                                                                                                                                    1             5             0
                          Favorable            Favorable                                                              Favorable
 Long-Term
 Disability Plan          Pinnacleis         Pinnacleis                                                                                    
                                                                                                                   Not Applicable                                   0             0             5
                         Comparable           Comparable
 Medical –
 Premium                Pinnacleis        PinnacleisMore                                                    PinnacleisLess                     
 Payment
                                                                                                                                                                    3             3             0
                       MoreFavorable          Favorable                                                              Favorable
 Provisions
 Medical – Plan
 Design                 Pinnacleis        PinnacleisLess                                                    PinnacleisLess                 
                                                                                                                                                                    1             5             0
                       MoreFavorable          Favorable                                                              Favorable
 Retirement
                       PinnacleisLess    PinnacleisMore                                                    PinnacleisLess                 
                                                                                                                                                                    1             5             0
                          Favorable            Favorable                                                              Favorable
 Profit Sharing
                        Pinnacleis        PinnacleisMore                                                   PinnacleisMore                      
                                                                                                                                                                    5             0             0
                       MoreFavorable          Favorable                                                             Favorable

                                                                                                                                   Total                      11            24            5



                       ExpressJetͲCRJ
                                                 Comair            Compass                 GoJet                      Republic       SkyWest
                       (FormerlyASA)
 PinnacleisMore
 Favorable                    3                       4                                                                   1                

 PinnacleisLess
 Favorable                    3                       2                                                                   5                

 Pinnacleis
 Comparable                   1                       1                                                                   0                


     LessFavorable=Pinnacleprovisionismorecostly/restrictivethanOALprovision                                                  PrivilegedandConfidential–AttorneyWorkProduct
     MoreFavorable=Pinnacleprovisionislesscostly/restrictivethanOALprovision                                                              F&HSolutionsGroup–September2012
     Comparable=PinnacleprovisionisapproximatelycomparabletoOALprovision                                                                                                     Page1
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                                  Exhibit 6a
                                  12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 6a                   Pinnacle Current Flight Attendant through
                                                               Work Rules
                                                                       9d vs. OALs
                                                                          Pg 43     - More/Less Favorable Comparison
                                                                                of 64
                                                                       ExpressJet -                                                 Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                         More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                  Mesa           Trans States
                                                                        (Formerly                                                   Favorable       Favorable
                                                                       ExpressJet)
 Holiday Pay                                                                             Pinnacle is More   Pinnacle is More
                         Pinnacle is Less       Pinnacle is Less      Pinnacle is Less
                                                                                            Favorable          Favorable                 2              3               0
                            Favorable              Favorable             Favorable
 Junior
 Assignment Pay          Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         0              5               0
                            Favorable              Favorable             Favorable          Favorable          Favorable
 Extension Pay
                         Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         0              5               0
                            Favorable              Favorable             Favorable          Favorable          Favorable
 Ability to Decline
 Junior                  Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         0              5               0
 Assignments                Favorable              Favorable             Favorable          Favorable          Favorable
 Ability to Decline
 Extensions              Pinnacle is Less       Pinnacle is Less
                                                                      Not Applicable     Not Applicable     Not Applicable               0              2               0
                            Favorable              Favorable
 Ability to Fly a
 Flight Attendant        Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         0              5               0
 Into a Day Off             Favorable              Favorable             Favorable          Favorable          Favorable
 Deadhead                       Air                   Air                   Air                Air                Air                   Air            Air             Air
                         Pinnacle is Less         Pinnacle is         Pinnacle is Less   Pinnacle is Less   Pinnacle is Less             0              4               1
                            Favorable            Comparable              Favorable          Favorable          Favorable              Ground         Ground          Ground
                             Ground                Ground                 Ground             Ground             Ground                   1              2               1
                         Pinnacle is Less         Pinnacle is        Pinnacle is More    Pinnacle is Less   Not Applicable
                            Favorable            Comparable             Favorable           Favorable
 Per Diem
                         Pinnacle is Less       Pinnacle is Less     Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                         1              4               0
                            Favorable              Favorable            Favorable           Favorable          Favorable
 1-Day Trip Per
 Diem                       Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                         0              0               5
                           Comparable            Comparable             Comparable         Comparable         Comparable
 Uniform
 Allowance               Pinnacle is More       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         1              4               0
                            Favorable              Favorable             Favorable          Favorable          Favorable
 FA Open Time
 Posting                 Pinnacle is Less       Pinnacle is Less      Pinnacle is Less   Pinnacle is Less   Pinnacle is Less
                                                                                                                                         0              5               0
                            Favorable              Favorable             Favorable          Favorable          Favorable



Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                         Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                      F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                           Page 1
                                  12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 6a                   Pinnacle Current Flight Attendant through
                                                               Work Rules
                                                                       9d vs. OALs
                                                                          Pg 44     - More/Less Favorable Comparison
                                                                                of 64
                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                   Mesa          Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 Vacation Accrual
                            Pinnacle is        Pinnacle is More      Pinnacle is More     Pinnacle is More     Pinnacle is
                                                                                                                                          3              0               2
                           Comparable             Favorable             Favorable            Favorable        Comparable
 Co-domiciles
                            Pinnacle is         Pinnacle is Less      Pinnacle is Less    Pinnacle is Less     Pinnacle is
                                                                                                                                          0              3               2
                           Comparable              Favorable             Favorable           Favorable        Comparable
 Minimum Days for
 Part-Time Flight        Pinnacle is Less       Pinnacle is Less      Pinnacle is Less    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
 Attendants                 Favorable              Favorable             Favorable           Favorable          Favorable
 Distance Learning
 / Home Study            Pinnacle is Less       Pinnacle is Less      Pinnacle is Less    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
                            Favorable              Favorable             Favorable           Favorable          Favorable
 Recurrent
 Training                   Pinnacle is           Pinnacle is            Pinnacle is         Pinnacle is       Pinnacle is
                                                                                                                                          0              0               5
 Pay/Credit                Comparable            Comparable             Comparable          Comparable        Comparable
 US Customs
 Credit                  Pinnacle is Less       Pinnacle is Less      Pinnacle is Less    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
                            Favorable              Favorable             Favorable           Favorable          Favorable
                                                                                                                 TOTAL                    8              62             16


                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly            Mesa           Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                        1                     1                     3                  2                  1

 Pinnacle is Less
 Favorable                       13                    13                    12                  13                11

 Pinnacle is
 Comparable                       4                     4                     2                  2                  4




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 2
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                                  Exhibit 6b
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Exhibit 6b                     Pinnacle Current Flight Attendant Benefits
                                                               through 9d vs.
                                                                           PgOALs
                                                                              46 of -64
                                                                                      More/Less Favorable Comparison

                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                   Mesa           Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 Sick Leave /
 Extended Sick           Pinnacle is Less       Pinnacle is Less      Pinnacle is Less    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
 Leave                      Favorable              Favorable             Favorable           Favorable          Favorable
 Short-Term
 Disability Plan         Pinnacle is More       Pinnacle is Less                          Pinnacle is Less
                                                                      Not Applicable                         Not Applicable               1              2               0
                            Favorable              Favorable                                 Favorable
 Long-Term
 Disability Plan                                Pinnacle is Less      Pinnacle is Less       Pinnacle is        Pinnacle is
                         Not Applicable                                                                                                   0              2               2
                                                   Favorable             Favorable          Comparable         Comparable
 Medical –
 Premium Payment            Pinnacle is           Pinnacle is            Pinnacle is      Pinnacle is More   Pinnacle is Less
                                                                                                                                          1              1               3
 Provisions                Comparable            Comparable             Comparable           Favorable          Favorable
 Medical – Plan
 Design                  Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is Less
                                                                                                                                          4              1               0
                            Favorable             Favorable             Favorable            Favorable          Favorable
 Retirement
                         Pinnacle is More       Pinnacle is Less         Pinnacle is      Pinnacle is Less   Pinnacle is Less
                                                                                                                                          1              3               1
                            Favorable              Favorable            Comparable           Favorable          Favorable
 Profit Sharing          Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                            Favorable             Favorable             Favorable            Favorable          Favorable
                                                                                                                 TOTAL                   12              14              6


                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly            Mesa            Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                        4                     2                     2                  3                  1

 Pinnacle is Less
 Favorable                        1                     4                     2                  3                  4

 Pinnacle is
 Comparable                       1                     1                     2                  1                  1



Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 1
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                                  Exhibit 7a
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                            through 9d Pg 49 of 64
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                            through 9d Pg 50 of 64




                                  Exhibit 7b
12-11343-reg   Doc 658-1   Filed 09/21/12 Entered 09/21/12 17:38:13   Exhibit 1a
                            through 9d Pg 51 of 64
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                                  Exhibit 8a
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Exhibit 8a                 Pinnacle Proposed Flight Attendantthrough
                                                               Work Rules
                                                                     9d Pgvs.53OALs
                                                                                of 64- More/Less Favorable Comparison
                                                                       ExpressJet -                                                 Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                         More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                  Mesa           Trans States
                                                                        (Formerly                                                   Favorable       Favorable
                                                                       ExpressJet)
 Holiday Pay                                                                             Pinnacle is More   Pinnacle is More
                            Pinnacle is         Pinnacle is Less      Pinnacle is Less
                                                                                            Favorable          Favorable                 2              2               1
                           Comparable              Favorable             Favorable
 Junior
 Assignment Pay             Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                         0              0               5
                           Comparable            Comparable             Comparable         Comparable         Comparable
 Extension Pay
                            Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                         0              0               5
                           Comparable            Comparable             Comparable         Comparable         Comparable
 Ability to Decline
 Junior                     Pinnacle is           Pinnacle is            Pinnacle is        Pinnacle is        Pinnacle is
                                                                                                                                         0              0               5
 Assignments               Comparable            Comparable             Comparable         Comparable         Comparable
 Ability to Decline
 Extensions              Pinnacle is More      Pinnacle is More
                                                                      Not Applicable     Not Applicable     Not Applicable               2              0               0
                            Favorable             Favorable
 Ability to Fly a           Pinnacle is           Pinnacle is            Pinnacle is                           Pinnacle is
 Flight Attendant                                                                           Pinnacle is
                           Comparable            Comparable             Comparable                            Comparable                 0              0               5
 Into a Day Off                                                                            Comparable
 Deadhead                       Air                   Air                   Air                Air                Air                   Air            Air             Air
                            Pinnacle is        Pinnacle is More          Pinnacle is        Pinnacle is        Pinnacle is               1              0               4
                           Comparable             Favorable             Comparable         Comparable         Comparable              Ground         Ground          Ground
                             Ground                Ground                 Ground             Ground             Ground                   2              0               2
                            Pinnacle is        Pinnacle is More      Pinnacle is More       Pinnacle is     Not Applicable
                           Comparable             Favorable             Favorable          Comparable
 Per Diem
                         Pinnacle is Less      Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                         2              3               0
                            Favorable             Favorable             Favorable           Favorable          Favorable
 1-Day Trip Per
 Diem                    Pinnacle is More      Pinnacle is More      Pinnacle is More    Pinnacle is More   Pinnacle is More
                                                                                                                                         5              0               0
                            Favorable             Favorable             Favorable           Favorable          Favorable
 Uniform
 Allowance               Pinnacle is More      Pinnacle is More      Pinnacle is More    Pinnacle is Less   Pinnacle is Less
                                                                                                                                         3              2               0
                            Favorable             Favorable             Favorable           Favorable          Favorable
 FA Open Time
 Posting                 Pinnacle is More      Pinnacle is More      Pinnacle is More    Pinnacle is More   Pinnacle is More
                                                                                                                                         5              0               0
                            Favorable             Favorable             Favorable           Favorable          Favorable



Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                         Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                      F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                           Page 1
                                 12-11343-reg Doc 658-1 Filed 09/21/12 Entered 09/21/12 17:38:13 Exhibit 1a
Exhibit 8a                 Pinnacle Proposed Flight Attendantthrough
                                                               Work Rules
                                                                     9d Pgvs.54OALs
                                                                                of 64- More/Less Favorable Comparison
                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                   Mesa           Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 Vacation Accrual
                         Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                            Favorable             Favorable             Favorable            Favorable          Favorable
 Co-domiciles
                         Pinnacle is More         Pinnacle is            Pinnacle is         Pinnacle is     Pinnacle is More
                                                                                                                                          2              0               3
                            Favorable            Comparable             Comparable          Comparable          Favorable
 Minimum Days for
 Part-Time Flight        Pinnacle is Less      Pinnacle is More      Pinnacle is More     Pinnacle is Less   Pinnacle is Less
                                                                                                                                          2              3               0
 Attendants                 Favorable             Favorable             Favorable            Favorable          Favorable
 Distance Learning
 / Home Study                                     Pinnacle is         Pinnacle is Less    Pinnacle is Less
                         Not Applicable                                                                      Not Applicable               0              2               1
                                                 Comparable              Favorable           Favorable
 Recurrent
 Training                Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
 Pay/Credit                 Favorable             Favorable             Favorable            Favorable          Favorable
 US Customs
 Credit                     Pinnacle is           Pinnacle is            Pinnacle is         Pinnacle is        Pinnacle is
                                                                                                                                          0              0               5
                           Comparable            Comparable             Comparable          Comparable         Comparable
                                                                                                                 TOTAL                   36              12             36


                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly            Mesa            Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                        7                    10                     8                  5                  6

 Pinnacle is Less
 Favorable                        2                     1                     2                  4                  3

 Pinnacle is
 Comparable                       8                     7                     7                  8                  6




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 2
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                                  Exhibit 8b
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Exhibit 8b                    Pinnacle Proposed Flight Attendant Benefits
                                                              through 9d vs.
                                                                          Pg OALs   - More/Less Favorable Comparison
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                                                                       ExpressJet -                                                  Pinnacle is     Pinnacle is    Pinnacle is
                                                                           ERJ                                                          More            Less       Comparable
 TOPIC                   Air Wisconsin        American Eagle                                   Mesa           Trans States
                                                                        (Formerly                                                    Favorable       Favorable
                                                                       ExpressJet)
 Sick Leave /
 Extended Sick              Pinnacle is           Pinnacle is        Pinnacle is More     Pinnacle is More      Pinnacle is
                                                                                                                                          2              0               3
 Leave                     Comparable            Comparable             Favorable            Favorable         Comparable
 Short-Term
 Disability Plan         Pinnacle is More         Pinnacle is                                Pinnacle is
                                                                      Not Applicable                         Not Applicable               1              0               2
                            Favorable            Comparable                                 Comparable
 Long-Term
 Disability Plan                                Pinnacle is Less      Pinnacle is Less    Pinnacle is More   Pinnacle is More
                         Not Applicable                                                                                                   2              2               0
                                                   Favorable             Favorable           Favorable          Favorable
 Medical –
 Premium Payment         Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
 Provisions                 Favorable             Favorable             Favorable            Favorable          Favorable
 Medical – Plan
 Design                  Pinnacle is More      Pinnacle is More      Pinnacle is More     Pinnacle is More   Pinnacle is More
                                                                                                                                          5              0               0
                            Favorable             Favorable             Favorable            Favorable          Favorable
 Retirement
                         Pinnacle is More       Pinnacle is Less     Pinnacle is More                        Pinnacle is Less
                                                                                          Not Applicable                                  2              2               0
                            Favorable              Favorable            Favorable                               Favorable
 Profit Sharing
                         Pinnacle is Less       Pinnacle is Less      Pinnacle is Less    Pinnacle is Less   Pinnacle is Less
                                                                                                                                          0              5               0
                            Favorable              Favorable             Favorable           Favorable          Favorable
                                                                                                                 TOTAL                   17              9               5

                                                                       ExpressJet ‐ ERJ
                           Air Wisconsin         American Eagle           (Formerly            Mesa            Trans States
                                                                         ExpressJet)
 Pinnacle is More
 Favorable                        4                     2                     4                  4                  3

 Pinnacle is Less
 Favorable                        1                     3                     2                  1                  2

 Pinnacle is
 Comparable                       1                     2                     0                  1                  1




Less Favorable = Pinnacle provision is more costly/restrictive than OAL provision                                          Privileged and Confidential – Attorney Work Product
More Favorable = Pinnacle provision is less costly/restrictive than OAL provision                                                       F&H Solutions Group – September 2012
Comparable = Pinnacle provision is approximately comparable to OAL provision                                                                                            Page 1
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                                  Exhibit 9a
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                                  Exhibit 9b
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                                  Exhibit 9c
                                   12-11343-reg       Doc 658-1          Filed 09/21/12 Entered 09/21/12 17:38:13                         Exhibit 1a
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Exhibit9c
                                                                                    MesabaPilots

                                                                             PriortoFilingBankruptcy
                                                                          BankruptcyfiledOctober13,2005

                                         Air      American                                                                       Republic/               Trans
                       Mesaba        Wisconsin      Eagle       ASA           Comair     ExpressJet     Mesa        Mesaba      Chautauqua     Skywest     States    Mesaba
AmendableDate        1/31/2009      10/1/2011    1/1/2013   9/15/2002      5/21/2006   11/30/2008    9/19/2007    1/31/2009    10/17/2007               7/31/2006   Relative
EffDate              1/31/2005      10/1/2005    1/1/2005   9/14/2002      6/22/2004   12/1/2004     9/19/2004    1/31/2005     10/1/2005               8/1/2005     Rank
AircraftType           RJ85        51Ͳ70Seat    CRJͲ70      CRJͲ70         CRJͲ70                    CRJͲ70       RJ85       60Ͳ78Seat
Rate(18thYr)         $94.48         $97.11       $94.24     $102.59        $113.12                   $90.12       $94.48        $99.24                                5
AircraftType         40Ͳ59Seat       CRJͲ50      ERJ145      CRJͲ50         CRJͲ50      ERJ145      50Ͳ59Seat   40Ͳ59Seat     ERJ145                  ERJ145
Rate(15thYear)       $83.83         $83.06       $89.53     $81.98         $92.38       $84.95       $77.79       $83.83        $87.33                  $81.54        6

TopOfScale             18           20/18        18       18/15          18           18         20/15        18            18                      15

                                                                         AsofFinalRestructuringAgreement
                                                                             EffectiveDecember1,2006

                                         Air      American                                                                       Republic/               Trans
                       Mesaba        Wisconsin      Eagle       ASA           Comair     ExpressJet     Mesa        Mesaba      Chautauqua     Skywest     States    Mesaba
AmendableDate        1/31/2009      10/1/2011    1/1/2013   9/15/2002      5/21/2006   11/30/2008    9/19/2007    1/31/2009    10/17/2007               7/31/2006   Relative
EffDate              12/1/2006      10/1/2006    1/1/2007   9/14/2002      6/22/2004   12/1/2006     9/19/2006    12/1/2006     10/1/2006               8/1/2005     Rank
AircraftType            RJ85       51Ͳ70Seat    CRJͲ70      CRJͲ70         CRJͲ70                    CRJͲ70        RJ85      60Ͳ78Seat
Rate(18thYr)         $91.08         $98.57       $98.43     $102.59        $113.12                   $88.97       $91.08        $101.22                               7
AircraftType           CRJͲ50         CRJͲ50      ERJ145      CRJͲ50         CRJͲ50      ERJ145      50Ͳ59Seat     CRJͲ50        ERJ145                 ERJ145
Rate(15thYear)       $81.23         $86.37       $93.51     $81.98         $92.38       $89.25       $79.34       $81.23        $89.08                  $81.54        9

TopOfScale             18           20/18        18       18/15          18           18         20/15        18            20                      15




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                                  Exhibit 9d
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